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                                                                                   2020 Oct-02 AM 09:56
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                         NORTHEASTERN DIVISION


MELISSA FENDLEY,

      Plaintiff,
                                               CASE NO:
vs.

JOHNNY’S BAR-B-Q, INC.,

     Defendant.
____________________________________/

                                   COMPLAINT

      Plaintiff, MELISSA FENDLEY (“Plaintiff”) by and through the undersigned

counsel, hereby files this Complaint and sues JOHNNY’S BAR-B-Q, INC., for

injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama



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pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District

Court for the Northern District of Alabama.

      3.      Plaintiff,   MELISSA     FENDLEY        (hereinafter   referred   to   as

“FENDLEY”) is a resident of the State of Alabama and is a qualified individual

with a disability under the ADA. FENDLEY suffers from what constitutes a

“qualified disability” under the Americans With Disabilities Act of 1990, (“ADA”)

and all other applicable Federal statutes and regulations to the extent that she

suffers from paraplegia and requires a wheelchair for mobility. Prior to instituting

the instant action, FENDLEY visited the Defendant’s premises at issue in this

matter, and was denied full, safe and equal access to the subject properties due to

their lack of compliance with the ADA.          FENDLEY continues to desire and

intends to visit the Defendant’s premises but continues to be denied full, safe and

equal access due to the barriers to access that continue to exist.

      4.      The Defendant, JOHNNY’S BAR-B-Q, INC. is a domestic

corporation registered to do business and, in fact, conducting business in the State

of Alabama.        Upon information and belief JOHNNY’S BAR-B-Q, INC.

(hereinafter referred to as “JOHNNY’S BAR-B-Q”) is the owner, lessee and/or

operator of the real property and improvements that are the subject of this action,

specifically: The Johnny’s Bar-B-Q Restaurant located at 1401 4th Street SW in


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Cullman, Alabama (hereinafter referred to as the "Restaurant").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the

Restaurant owned by JOHNNY’S BAR-B-Q is a place of public accommodation in

that it is a retail Restaurant operated by a private entity that provides goods and

services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Restaurant in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Restaurant owned by


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JOHNNY’S BAR-B-Q. Prior to the filing of this lawsuit, Plaintiff visited the

Restaurant at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant’s premises and therefore suffered

an injury in fact as a result of the barriers to access listed in Paragraph 11, below

that she personally encountered. In addition, Plaintiff continues to desire and

intends to visit the Restaurant, but continues to be injured in that she is unable to

and continues to be discriminated against due to the barriers to access that remain

at the Restaurant in violation of the ADA. FENDLEY has now and continues to

have reasonable grounds for believing that she has been and will be discriminated

against because of the Defendant’s continuing deliberate and knowing violations of

the ADA.

          10.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991,

the Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

          11.   JOHNNY’S BAR-B-Q is in violation of 42 U.S.C. §12181 et seq. and

28 C.F.R. §36.302 et seq. and is discriminating against the Plaintiff as a result of

inter alia, the following specific violations that Plaintiff personally encountered:

     i.         The accessible parking space in front of the building has no accessible

                signage;


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 ii.       The two accessible parking spaces that are located across the parking

          area have no access aisles and have signage that is mounted too low to

          be viewed over a parked vehicle. These spaces are not located on the

          shortest accessible route to the entry.

iii.      The foyer has doors in series that are too close together for a

          wheelchair user to enter independently.

iv.       The entry door to the toilet room corridor has knob-type hardware that

          requires tight grasping and twisting of the wrist to operate, is too

          narrow for a wheelchair user to pass, and lacks clear maneuvering

          space on the corridor side of the door for a wheelchair user to exit the

          corridor independently.

 v.        In both the Men’s and Women’s toilet rooms, the entry doors lack

          accessible signage, have knob-type hardware that requires tight

          grasping and twisting of the wrist to operate, and are too narrow for a

          wheelchair user to pass.

vi.        In both the Men’s and Women’s toilet rooms there is insufficient

          maneuvering space at the lavatories and water closets for a wheelchair

          user and there are no grab bars at the water closets in either toilet

          room.


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   vii.         Lavatories in both the Men’s and Women’s toilet rooms have hot

                water and drain pipes that are not insulated.

          12.   There are other current barriers to access and violations of the ADA at

the Restaurant owned and operated by JOHNNY’S BAR-B-Q that were not

specifically identified herein as the Plaintiff is not required to engage in a futile

gesture pursuant to 28 C.F.R. Part 36, §36.501 and, as such, only once a full

inspection is performed by Plaintiff or Plaintiff’s representatives can all said

violations be identified.

          13.   To date, the barriers to access and other violations of the ADA still

exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA.

          14.   Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R.

§36.304, JOHNNY’S BAR-B-Q was required to make its Restaurant, a place of

public accommodation, accessible to persons with disabilities by January 28, 1992.

To date, JOHNNY’S BAR-B-Q has failed to comply with this mandate.

          15.   Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action.         Plaintiff is entitled to have her reasonable

attorney’s fees, costs and expenses paid by Defendant pursuant to 42 U.S.C.

§12205.


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      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority

to grant Plaintiff injunctive relief, including an Order to alter the subject facilities

to make them readily accessible to, and useable by, individuals with disabilities to

the extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against JOHNNY’S BAR-

B-Q and requests the following injunctive and declaratory relief:

             A.     That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;

             B.     That the Court enter an Order directing Defendant to alter
                    its facilities to make them accessible to and useable by
                    individuals with disabilities to the full extent required by
                    Title III of the ADA;

             C.     That the Court enter an Order directing Defendant to
                    evaluate and neutralize its policies and procedures towards
                    persons with disabilities for such reasonable time so as to
                    allow them to undertake and complete corrective
                    procedures;

             D.     That the Court award reasonable attorney’s fees, costs
                    (including expert fees) and other expenses of suit, to the
                    Plaintiff; and

             E.     That the Court award such other and further relief as it
                    deems necessary, just and proper.

      Dated this 1st day of October, 2020.



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                                        Respectfully submitted,

                                        By: /s/ Edward I. Zwilling
                                        Edward I. Zwilling, Esq.
                                        AL State Bar No.: ASB-1564-L54E
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